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                         IN THE UNITED STATES DISTRICT COURT
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                             • FOR THE DISTRICT OF KANSAS •
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ANGELIINA LYNN LAWSON,
Plaintiff,                                              Case No. 2:25-cv-02199-TC-ADM

v.

HON. ERIC GODDERZ, in his indivi~ua1 and official capacities,          .    1
                                                                              . , ' ,

CHIEF JUDGE TAYLOR J. WINE (in his individual and official capacity), ,
HON. JOHN BRYANT (in his individual and official capacity),
                                                               ' _; , :{' '
STATE OF KANSAS,                          l,     •✓ 1 1 r ,
                                                     1      .J' Lr ,, 1_
Defendants.
                                                                        JURY TRIAL DEMANDED

     MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT AND PRESERVE
                             PENDING FILINGS

COMES NOW Plaintiff, Angeliina Lynn Lawson, appearing pro se, and respectfully moves this
Court to accept the filing of her First Amended Complaint and to preserve all previously
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submitted filings related to her pending Motion for IFP, Motion Ex parte Temporary Restraining
Order (TRO), including accompanying declarations, memoranda, and legal the.Q.zy filings, under
the authority of Federal Rule of Civil Procedure 15(a)(l)(B).

I. PURPOSE OF AMENDMENT

Plaintiff s'uliiriits 'this 'Fiist'Amended Complaint as of right and within the allowed period under
Fed. R. Civ. P. 15(a). Tue·amendment reflects factual developments since the original filing,
clarifies parties and legal claims, and incorporates additional constitutional counts including but
not limited to an unlawful taking under the Fifth Amendment and expansion of ADA retaliation
and access-to-court violations.

II. PRESERVATION OF PENDING TRO and IFP FILINGS
Plaintiff respectfully requests that all previously submitted filings in support of the pending IFP
and TRO-including the Verified Complaint, Declaration filed April 14, 2025, Supplemental
Declaration filed April 16, 2025, Memorandum of Law filed April 16, 2025, Verified Declaration
filed April 17, 2025, Motion for TRO filed April 18, 2025, Voluntary Dismissal, and
accompanying Notice of ADA Access-be preserved and carried over as applicable to this First
Amended Complaint, and not treated as moot.
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III. LEGAL STANDARD

Under Rule 15(a)(2), leave to amend should be freely given when justice so requires. See Foman
v. Davis, 371 U.S. 178, 182 (1962). Plaintiff's proposed 3.91endment is not made in bad faith,
does not prejudice Defendants, and is necessary to reflect both procedural exhaustion and the
evolving factual pattern of judicial misconduct.

IV. REQUEST FOR RELIEF

Plaintiff respectfully requests that the Court:

    1. GRANT this Motion for Leave to File First Amended Complaint;
    2. PRESERVE the existing reco.rd and consider all TRO-related filings appiicable to the
       amended pleading;
    3. IN CORPORATE the attached legal theory memorandum as supplemental legal:authority
       for the amended complaint;
    4. GRANT such other and further relief as this Court deems just and proper.

Respectfully ~ubmitted,                                                                         Dated: April 19, 2025


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Pro Se Plaintiff • • '
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AngeliinaCourtRecords@gmail.com ·, ·, •               1   1
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                                   CERTIFICATE OF SERVICE -~ •

I certify that on April 20, 2025, I wiJl fax, mail, or email a true and correct copy of this Motion
for Leave
        -
            to File. First AmendedI Complaint, with all attached exhibits, .to all parties:
                                   I.             '                                                                      /   •




      una Lynn Lawson
Pro Se Plaintiff ' .


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